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 6   L.P.

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 8                                 UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10
                                                 Case No. 4:19-cv-07123-PJH
11   WHATSAPP LLC, and META PLATFORMS
     INC.,                                       DECLARATION OF STEVE EISNER IN
12                                               SUPPORT OF THIRD PARTY FRANCISCO
                     Plaintiff,                  PARTNERS MANAGEMENT L.P.’S L.R.
13
                        v.                       79-5(f)(3) STATEMENT RE:
14                                               MAINTAINING SEAL OF MATERIALS
     NSO GROUP TECHNOLOGIES LIMITED              FILED BY PLAINTIFFS IN SUPPORT OF
15   and Q CYBER TECHNOLOGIES LIMITED,           MOTION FOR ISSUANCE OF A LETTER
                                                 ROGATORY PURSUANT TO THE HAGUE
16                                               CONVENTION [ECF No. 319]
                    Defendant.
17
                                                 DISCOVERY MATTER
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19                                               Judge: Hon. Phyllis J. Hamilton
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     DECL. OF S. EISNER ISO IN SUPPORT OF THIRD PARTY FRANCISCO PARTNERS MANAGEMENT
               L.P.’S L.R. 79-5(F)(3) STATEMENT RE MAINTAINING SEAL OF MATERIALS
         Case 4:19-cv-07123-PJH Document 328-1 Filed 07/03/24 Page 2 of 7



 1          I, Steve Eisner, declare as follows:

 2          1.      I am Partner, General Counsel and Chief Compliance Officer of third-party Francisco

 3   Partners Management L.P. The facts stated herein are true of my personal knowledge, and, if called

 4   as a witness herein, I can and would testify competently thereto.

 5          2.      I make this declaration in support of Third Party Francisco Partners Management

 6   L.P.’s L.R. 79-5(f)(3) Statement Re: Maintaining Seal of Materials Filed By Plaintiff in Support of

 7   Motion for Issuance of a Letter Rogatory Pursuant to the Hague Convention.

 8          3.      Attached as Exhibit M to the Declaration of Craig T. Cagney in Support of Plaintiffs’

 9   Motion for Issuance of a Letter Rogatory Pursuant to the Hague Convention is an email produced by

10   Francisco Partners pursuant to Plaintiffs’ subpoena as “Highly Confidential.”

11          4.      The technology-focused investment firm industry is highly competitive. As a result,

12   the disclosure of Francisco Partners’ business strategies and analyses to its competitors could cause

13   significant harm to Francisco Partners by giving its competitors an unfair advantage.

14          5.      Exhibit M comprises Francisco Partners’ highly confidential and sensitive

15   commercial information that Francisco Partners protects from disclosure to the public. Such

16   information constitutes Francisco Partners’ highly confidential business and commercially sensitive

17   information that would harm Francisco Partners’ competitive standing in the industry if such

18   information were disclosed to the public.

19          6.      For example, the email contains the following sensitive information:

20                  a. Francisco Partners’ confidential assessments of its portfolio company and its

21                      management;

22                  b. The factors Francisco Partners may use to assess the performance of a portfolio

23                      company; and

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                                                       2
     DECL. OF S. EISNER ISO IN SUPPORT OF THIRD PARTY FRANCISCO PARTNERS MANAGEMENT
               L.P.’S L.R. 79-5(F)(3) STATEMENT RE MAINTAINING SEAL OF MATERIALS
         Case 4:19-cv-07123-PJH Document 328-1 Filed 07/03/24 Page 3 of 7



 1                  c. How Francisco Partners analyzes, assesses, and negotiates compensation

 2                      packages for the management of its portfolio companies.

 3          7.      Due to the confidential and sensitive nature of the information Francisco Partners

 4   now seeks to file under seal, Francisco Partners ensured that it would have the protection of the

 5   protective order entered in this case before producing the document now attached as Exhibit M to the

 6   Cagney Declaration. The information Francisco Partners seeks to have filed under seal was

 7   designated as “Highly Confidential” pursuant to the protective order.

 8          8.      Francisco Partners seeks a narrowly tailored sealing order. Attached as Exhibit A is

 9   a proposed redacted version of Exhibit M to the Cagney Declaration that redacts only the

10   information described in Paragraph 6 a.-c.

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12   I declare under penalty of perjury under the laws of the United States of America that the foregoing

13   is true and correct. Executed at Los Angeles, CA on July 2, 2024.

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17                                                Steve Eisner

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     DECL. OF S. EISNER ISO IN SUPPORT OF THIRD PARTY FRANCISCO PARTNERS MANAGEMENT
               L.P.’S L.R. 79-5(F)(3) STATEMENT RE MAINTAINING SEAL OF MATERIALS
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                EXHIBIT A
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